Case 2:18-cv-00491-JRG-RSP Document 140 Filed 11/22/19 Page 1 of 30 PageID #: 4522




                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             MARSHALL DIVISION

    UNILOC 2017 LLC,                      §
                                          §
                       Plaintiff,         §
                                          §
               v.                         §   Civil Case No. 2:18-cv-491, -492, -493,
                                          §   495, -496, -497, -499, -500, -501, -502,
    GOOGLE LLC,                           §   -503, -504, -548, -550, -551, -552, -553
                                          §
                       Defendant.         §
                                          §




     DEFENDANT GOOGLE LLC’S OMNIBUS REPLY IN SUPPORT OF RENEWED
      MOTION TO DISMISS FOR LACK OF STANDING AND IMPROPER VENUE
Case 2:18-cv-00491-JRG-RSP Document 140 Filed 11/22/19 Page 2 of 30 PageID #: 4523


                                                 TABLE OF CONTENTS

                                                                                                                                    Page


   I.    UNILOC LACKS STANDING TO SUE ...............................................................................1
         A. The Burden to Prove Standing Rests Squarely on Uniloc 2017 ......................................1
         B.




         C. Uniloc 2017 Lacks Statutory Standing
                                                                                  ........................................................5
   II.   VENUE IS NOT PROPER IN THIS DISTRICT ...................................................................6
         A. GGC Servers Do Not Support Venue for Any of Uniloc’s Complaints ..........................6
              1.    Drained Servers Do Not Support Venue for the December Complaints ..................7
                    a.    Venue Is Assessed at the Time a Complaint Is Filed ........................................7
                    b.    Under SEVEN’s Rationale, the GGC Servers in This District Ceased
                          Conducting Business Upon Being Drained.......................................................8
              2.    GGC Servers Do Not Support Venue for the November Complaints ......................9
         B. There Are No “Google Fi Cell Towers” in the District That Could Be Regular and
            Established Places of Business ......................................................................................10
         C. The New Theories Uniloc Recycles from PMC Do Not Support Venue Either ...........11
              1.    The                                 Is Not a Google Place of Business ...............................11
              2.    Uniloc’s                                    Theory of Venue Also Fails ...............................13
         D. Congress Intended a Nexus Requirement ......................................................................15
         E. Uniloc Has Not Adequately Alleged Acts of Infringement in This District for the
            Patents in the 491, 492, 495, 497, 500, 503, 504, 550, 551, and 553 Cases..................16




                                                                 -i-
Case 2:18-cv-00491-JRG-RSP Document 140 Filed 11/22/19 Page 3 of 30 PageID #: 4524




                                                 TABLE OF AUTHORITIES

                                                                                                                                    Page

   CASES

   Alfred E. Mann Found. v. Cochlear Corp.,
       604 F.3d 1354 (Fed. Cir. 2010)..................................................................................................4

   Aspex Eyewear v. Miracle Optics,
      434 F.3d 1336 (Fed. Cir. 2006)..............................................................................................4, 5

   Bonneville Assocs., Ltd. v. Barram,
      165 F.3d 1360 (Fed. Cir. 1999)................................................................................................17

   Brooke Group Ltd. v. JCH Syndicate 488,
      87 N.Y.2d 530, 640 N.Y.S.2d 479, 663 N.E.2d 635 (N.Y. 1996) .............................................2

   DCV Holdings v. ConAgra, Inc.,
     889 A.2d 954 (Del. 2005) ..........................................................................................................6

   Dynamic Data Techs., LLC v. Qualcomm Inc.,
      2:18-cv-470-RWS, Dkt. 52 (E.D. Tex. Aug. 13, 2019) ...........................................................13

   Fractus, S.A. v. ZTE Corp.,
      2:17-cv-561-JRG, Dkt. 104 (E.D. Tex. Sept. 28, 2018) ....................................................12, 13

   In re Cray, Inc.,
       871 F.3d 1355 (Fed. Cir. 2017)........................................................................................ passim

   In re ZTE (USA) Inc.,
       890 F.3d 1008 (Fed. Cir. 2018)............................................................................................8, 13

   Intel v. Negotiated Data Solutions,
       699 F. Supp. 2d 871 (E.D. Tex. 2010) .......................................................................................1

   Kibler v. Transcontinental & Western Air, Inc.,
      63 F. Supp. 724 (E.D.N.Y. 1945) ............................................................................................15

   Kranos IP Corp. v. Riddell, Inc.,
      No. 2:17-CV-443-JRG, 2017 WL 3704762 (E.D. Tex. Aug. 28, 2017)..................................11

   Lawyers’ Fund v. Bank Leumi Trust,
      94 N.Y.2d 398 (2000) ................................................................................................................3


                                                                      -ii-
Case 2:18-cv-00491-JRG-RSP Document 140 Filed 11/22/19 Page 4 of 30 PageID #: 4525




   Lean Solutions Inst. v. Fed. Reserve Bank of Atlanta,
      No. 1:12-CV-775-SCJ, 2012 WL 13014637 (N.D. Ga. Mar. 19, 2012)................................1, 2

   Level Sleep LLC v. Dormeo N. Am., LLC,
      No. 2:18-cv-00120-RWS, 2019 WL 458467 (E.D. Tex. Feb. 1, 2019) .....................................8

   Lowe v. Eltan, B.V.,
      No. 9:05-CV-38, 2018 WL 7822940 (E.D. Tex. Dec. 12, 2018) ..............................................3

   Luminara Worldwide v. Liown Elecs.,
      814 F.3d 1343 (Fed. Cir. 2016)..................................................................................................4

   Morrow v. Microsoft,
     499 F.3d 1332 (Fed. Cir. 2007)..................................................................................................4

   Nano-Proprietary v. Canon, Inc.,
      537 F.3d 394 (5th Cir. 2008) .....................................................................................................2

   Nutrition Physiology Corp. v. Enviros Ltd.,
      87 F. Supp. 2d 648 (N.D. Tex. 2000) ........................................................................................8

   ParkerVision, Inc. v. Apple Inc.,
      No. 3:15-cv-1477, 2018 WL 5084731 (M.D. Fla. Jan. 9, 2018) ...............................................8

   Personal Audio, LLC v. Google, Inc.,
      280 F. Supp. 3d 922 (E.D. Tex. 2017) ...................................................................................7, 8

   Prima Tek II v. A-Roo,
      222 F.3d 1372 (Fed. Cir. 2000)..................................................................................................1

   Raytheon Co. v. Cray, Inc.,
      258 F. Supp. 3d 781 (E.D. Tex. 2017) ......................................................................................8,

   Schnell v. Peter Eckrich & Sons, Inc.,
      365 U.S. 260 (1961) ...................................................................................................................8

   SEVEN Networks, LLC v. Google LLC,
      315 F. Supp. 3d 933 (E.D. Tex. 2018) ............................................................................. passim

   Sicom Sys. v. Agilent Techs.,
       427 F.3d 971 (Fed. Cir. 2005)....................................................................................................1

   Super Interconnect Techs. LLC v. Google LLC,
      No. 2:18-CV-00462-JRG, 2019 WL 3717683 (E.D. Tex. Aug. 7, 2019)............................8, 10


                                                                       -iii-
Case 2:18-cv-00491-JRG-RSP Document 140 Filed 11/22/19 Page 5 of 30 PageID #: 4526




   Tierra Intelectual Borinquen, Inc. v. ASUS Computer Int’l, Inc.,
       No. 13-CV-44, 2014 WL 1233040 (E.D. Tex. Mar. 24, 2014) ...............................................16

   Timkey v. City of Lockport,
      90 N.Y.S.3d 757 (N.Y. App. Div. 2018) ...................................................................................1

   Virginia Innovation Scis., Inc. v. Amazon.com, Inc.,
      No. 4:18-cv-474, 2019 WL 3082314 (E.D. Tex. Jul. 15, 2019) ................................................8

   STATUTES

   28 U.S.C. § 1391(b) .....................................................................................................................7, 8

   28 U.S.C. § 1400(b) .............................................................................................................7, 15, 16

   OTHER AUTHORITIES

   Federal Rules of Civil Procedure Rule 41(a) .................................................................................16

   American Heritage College Dictionary (3d ed. 1993).....................................................................2

   Black’s Law Dictionary (8th ed. 2004) ............................................................................................2




                                                                        -iv-
Case 2:18-cv-00491-JRG-RSP Document 140 Filed 11/22/19 Page 6 of 30 PageID #: 4527




   I.   UNILOC LACKS STANDING TO SUE.

        A.    The Burden to Prove Standing Rests Squarely on Uniloc 2017.

             Uniloc 2017’s suggestion that Google bears a burden of proof on the issue of standing is

   contrary to blackletter law: “The party bringing the action bears the burden of establishing that it

   has standing.” Sicom Sys. v. Agilent Techs., 427 F.3d 971, 976 (Fed. Cir. 2005). Uniloc 2017’s

   argument that patent assignments enjoy a “presumption of validity” (Opp. at 3) is a red herring

   because Google’s Motion does not challenge the validity of any assignment. Instead, Google’s

   Motion invokes the principle that “an owner or licensee of a patent cannot convey that which it

   does not possess.” Prima Tek II v. A-Roo, 222 F.3d 1372, 1382 (Fed. Cir. 2000). Because Fortress

   held an irrevocable license when Uniloc Lux assigned its patents to Uniloc 2017, Uniloc Lux

   lacked any exclusionary right to assign. The “validity” of the assignment itself is irrelevant.

        B.    Fortress’s Irrevocable License Deprives Uniloc 2017 of Article III Standing.

              1.   Fortress’s “Irrevocable” License Survived the            Termination.

             The

                                           did not, as Uniloc 2017 erroneously contends,

                                       Courts recognize that licenses, like other contractual rights,

   routinely survive the agreements that create them. Intel v. Negotiated Data Solutions, 699 F. Supp.

   2d 871, 873–74 (E.D. Tex. 2010) (concluding that Intel’s “permanent license” “survived the

   termination of the License Agreement”); Timkey v. City of Lockport, 90 N.Y.S.3d 757, 758–59

   (N.Y. App. Div. 2018) (observing that “[r]ights which accrued or vested under the agreement will,

   as a general rule, survive termination of the agreement”); Lean Solutions Inst. v. Fed. Reserve Bank

   of Atlanta, No. 1:12-CV-775-SCJ, 2012 WL 13014637, at *2 (N.D. Ga. Mar. 19, 2012) (“[T]he

   Court concludes that FRBA has a valid argument that the Agreement provides FRBA with a license

   to use LSI’s Work Products which survives the termination of the Agreement.”).

                                                     1
Case 2:18-cv-00491-JRG-RSP Document 140 Filed 11/22/19 Page 7 of 30 PageID #: 4528




          Further, the

                                                                         The parties chose to make

                                                            But they chose to make

                                              If the parties had intended for a termination of

                 to also terminate                           they would have had no reason to make the

                          Further, the             language in            specifically recites that




                          licenses are such rights under the governing law:

          Under New York law, “words and phrases used by the parties must . . . be given
          their plain meaning.” Brooke Group Ltd. v. JCH Syndicate 488, 87 N.Y.2d 530,
          534, 640 N.Y.S.2d 479, 663 N.E.2d 635 (N.Y. 1996). The term “irrevocable” is
          defined as “[u]nalterable; committed beyond recall,” Black's Law
          Dictionary 848 (8th ed. 2004), or “[i]mpossible to retract or revoke,” The
          American Heritage College Dictionary 719 (3d ed. 1993).

   Nano-Proprietary v. Canon, Inc., 537 F.3d 394, 400 (5th Cir. 2008) (emph. added). Confronted

   with an issue similar to that here, the court in Nano held that, “[b]ased upon the unambiguous

   meaning of ‘irrevocable,’ … the PLA could not be terminated.” Id. Any other construction, the

   court said, would have rendered “the term[] ‘irrevocable’ … superfluous, in contravention of

   established rules of contract interpretation.” Id.

          Uniloc 2017’s contention (Opp. at 4–5) that

                                                                                                      —is

   baseless.




   1
    In its Opposition to Google’s Motion to Dismiss for Lack of Standing and Improper Venue,
   Uniloc 2017 filed exhibits only in Case No. 2:18-cv-548. Google’s record citations in this brief
   are therefore to the docket numbers in the -548 case unless otherwise specified.
                                                        2
Case 2:18-cv-00491-JRG-RSP Document 140 Filed 11/22/19 Page 8 of 30 PageID #: 4529




           Because Uniloc 2017’s proposed construction would render this provision superfluous, it

   is untenable. Lawyers’ Fund v. Bank Leumi Trust, 94 N.Y.2d 398, 404 (2000).

             2.   Multiple Defaults Occurred Under the RSA.

           Uniloc 2017 fails to address Google’s evidence of                                         Citing

   declarations by Fortress employee James Palmer, Uniloc 2017 concludes that

                                         The declarations cite no evidence, however, and they are

   contradicted by documentary evidence and deposition testimony. (Dkt. 78 at 6–7.) Self-serving

   declarations—serially produced to patch holes as they appear—cannot change the documented

   facts. Lowe v. Eltan, B.V., No. 9:05-CV-38, 2018 WL 7822940, at *7 (E.D. Tex. Dec. 12, 2018)

   (finding that a party’s “affidavit carries little weight because not only is it self-serving, but it also

   contradicts and is unsupported by the other record evidence”). 2



           Uniloc 2017 next contends that the waiver of

   constitutes a written waiver of any                      under

                                                                    However, Uniloc 2017’s corporate

   representative,                   testified that

                            Moreover, the




   2
    Google asked Uniloc 2017 to produce all evidence that Mr. Palmer relied on for his
   declarations. Uniloc 2017’s counsel said that Mr. Palmer relied on only the documents already
   produced in these cases, aside from privileged communications with counsel. But as detailed in
   Google’s Motion, the produced agreements plainly contradict Mr. Palmer’s declarations.
                                                       3
Case 2:18-cv-00491-JRG-RSP Document 140 Filed 11/22/19 Page 9 of 30 PageID #: 4530




            Uniloc 2017 also presents no evidence that the defaults were cured. Rather, it argues that

   the




                  Uniloc 2017’s predecessors were in default for the whole duration of the RSA.

   During that time, Fortress’s right to sublicense arose, and the



            Further, even if the



                                                                                                       No

   amount                                   could have cured this default, which was not pecuniary.

             4.                                     Negates Article III Standing.

            Uniloc 2017 attempts to escape fundamental principles of standing by misreading two

   Federal Circuit cases. The first case, Mann, does not suggest, as Uniloc 2017 contends, that

   standing must exist for at least one party. Alfred E. Mann Found. v. Cochlear Corp., 604 F.3d

   1354, 1358–60 (Fed. Cir. 2010). As the Federal Circuit has explained, parties are free to split up

   patent rights as they wish, but their division of rights may deprive all parties of standing. Morrow

   v. Microsoft, 499 F.3d 1332, 1339–41, n.8 (Fed. Cir. 2007). Nothing in Mann changes the bedrock

   requirement that a patent plaintiff hold exclusionary rights. Luminara Worldwide v. Liown Elecs.,

   814 F.3d 1343, 1348 (Fed. Cir. 2016). Nor does Uniloc 2017’s second case, Aspex, alter the

   principle that a licensor lacks standing if a licensee has a “virtually unfettered” right to sublicense.

   Aspex Eyewear v. Miracle Optics, 434 F.3d 1336, 1341 (Fed. Cir. 2006). To the contrary, Aspex

   recognizes that such a right, by itself, would “strongly” show that the licensor gave up its
                                                       4
Case 2:18-cv-00491-JRG-RSP Document 140 Filed 11/22/19 Page 10 of 30 PageID #: 4531




   exclusionary rights. Id. at 1342. The licensor in Aspex possessed standing, despite having granted

   a sublicensing right, only because it retained a “reversionary interest.” Id. at 1342–44. No

   reversionary interest exists here.

       C.    Uniloc 2017 Lacks Statutory Standing Because


            Uniloc 2017 and CF Uniloc Holdings LLC (“CF Uniloc”) entered



                                                                 But they failed to accomplish this

   purpose. The




            Rather than omit these provisions, the




                               But a catch-all provision that conflicts with more narrowly drawn

   provisions (here,                            cannot extend rights that they have deliberately and

   specifically withheld. Under Delaware law, which governs the                                     ,

   “[s]pecific language in a contract controls over general language, and where specific and general

   provisions conflict, the specific provision ordinarily qualifies the meaning of the general one.”

                                                     5
Case 2:18-cv-00491-JRG-RSP Document 140 Filed 11/22/19 Page 11 of 30 PageID #: 4532




   DCV Holdings v. ConAgra, Inc., 889 A.2d 954, 961 (Del. 2005).

           exhibit greater specificity, they control and trump the catch-all language in

              Finally, as to the alleged termination of

                                                    deposition testimony




                                                                                                 Google

   has repeatedly asked Uniloc 2017 for                                                              but

   the only agreement that Google has seen between



                                                                               3


   II. VENUE IS NOT PROPER IN THIS DISTRICT.

         A.    GGC Servers Do Not Support Venue for Any of Uniloc’s Complaints.

              Uniloc’s principal argument that venue is proper is that GGC servers previously served

   content from third-party ISP facilities in this District. But upon being drained, those servers ceased

   serving content to users and therefore could no longer be a “regular and established place of

   business” under this Court’s reasoning in SEVEN. Moreover, in arguing otherwise, Uniloc

   undermines the conclusion that GGC servers could support venue even before they were drained.


   3
       Google did not
                                        As noted above, Mr. Etchegoyen’s testimony that

                                                    Mr. Etchegoyen testified



                      Uniloc 2017’s failure to present a knowledgeable 30(b)(6) witness left
   Google on its own in attempting to navigate—in Mr. Etchegoyen’s words—


                                                          6
Case 2:18-cv-00491-JRG-RSP Document 140 Filed 11/22/19 Page 12 of 30 PageID #: 4533




              1.   Drained Servers Do Not Support Venue for the December Complaints.

            Google has proven that the servers that formed the basis of the Court’s ruling in SEVEN

   were drained and ceased serving content more than a month before the December Complaints were

   filed.

                                           To avoid the impact of these facts, Uniloc misstates the law,

   ignores this Court’s reasoning in SEVEN, and engages in speculation contradicted by the evidence.

                   a.   Venue Is Assessed at the Time a Complaint Is Filed.

            Uniloc urges the Court to look into the past to facts that might have existed when “its cause

   of action accrued.” Opp. at 15. Uniloc’s argument cannot be squared with the language of Section

   1400(b), which states that venue is proper “where the defendant has committed acts of

   infringement and has a regular and established place of business.” 28 U.S.C. § 1400(b) (emph.

   added). By using the present perfect tense (“has committed”), the statute allows a backwards-

   looking “acts of infringement” analysis. By contrast, the statute’s “place of business” prong uses

   the present tense—requiring that a defendant currently “has” (not “has had”) a place of business.

   Thus, “venue is determined under § 1400(b) by the facts and situation as of the date suit is filed.”

   Personal Audio, LLC v. Google, Inc., 280 F. Supp. 3d 922, 930-31 (E.D. Tex. 2017). For this

   reason alone, the Court should reject Uniloc’s argument. 4

            Uniloc also fails to distinguish any of the cases that have rejected its argument. 5 Instead, it


   4
     Uniloc’s argument is also inconsistent with the statutory framework. While the general venue
   statute in 28 U.S.C. § 1391(b)(2) allows venue in any district where “events or omissions giving
   rise to the claim occurred,” Congress narrowed patent venue to districts where the defendant
   both “has committed acts of infringement” and “has a regular and established place of business.”
   28 U.S.C. § 1400(b). With its argument, Uniloc seeks to effectively broaden the “restrictive”
   patent venue standard to the “broad general venue provision” of Section 1391(b)(2), which lacks
   a contemporaneous element. See In re ZTE (USA) Inc., 890 F.3d 1008, 1014 (Fed. Cir. 2018).
   5
    See, e.g., Personal Audio, 280 F. Supp. 3d at 930-31; Virginia Innovation Scis., Inc. v.
   Amazon.com, Inc., No. 4:18-cv-474, 2019 WL 3082314, at *8 (E.D. Tex. Jul. 15, 2019) (“[T]he
                                                        7
Case 2:18-cv-00491-JRG-RSP Document 140 Filed 11/22/19 Page 13 of 30 PageID #: 4534




   relies primarily on Raytheon Co. v. Cray, Inc., 258 F. Supp. 3d 781 (E.D. Tex. 2017), which was

   vacated by In re Cray, Inc., 871 F.3d 1355, 1367 (Fed. Cir. 2017). Uniloc also points to the concern

   expressed in ParkerVision, Inc. v. Apple Inc., No. 3:15-cv-1477, 2018 WL 5084731 (M.D. Fla.

   Jan. 9, 2018), over the fairness of venue “turn[ing] on whether ParkerVision had filed its Complaint

   just two to six weeks earlier.” Id. at *8. But ParkerVision is against the weight of authority, and

   ignoring Uniloc’s delay would be contrary to the Supreme Court and Federal Circuit’s instruction

   that the venue statute is “specific and unambiguous … and [not] to be given a liberal construction.”

   Schnell v. Peter Eckrich & Sons, Inc., 365 U.S. 260, 264 (1961) (internal quotations omitted);

   accord In re ZTE, 890 F.3d at 1014.

                 b. Under SEVEN’s Rationale, the GGC Servers in This District Ceased
                    Conducting Business Upon Being Drained.

          Google respectfully maintains that GGC servers are not regular and established places of

   business, period, which would dispose of all of Uniloc’s complaints. However, this Court’s

   analysis of whether GGC servers are “places of business” has centered on their “delivering online

   content to users” within the District. Super Interconnect Techs. LLC v. Google LLC, No. 2:18-CV-

   00462-JRG, 2019 WL 3717683, at *2 (E.D. Tex. Aug. 7, 2019); see also SEVEN Networks, LLC

   v. Google LLC, 315 F. Supp. 3d 933, 949 (E.D. Tex. 2018). Applying this rationale, any such

   relevance ceased when the servers in this District stopped delivering content to users.




   Court is to look at the time the complaint is filed.”); Level Sleep LLC v. Dormeo N. Am., LLC,
   No. 2:18-cv-00120-RWS, 2019 WL 458467, at *3 (E.D. Tex. Feb. 1, 2019) (same); Nutrition
   Physiology Corp. v. Enviros Ltd., 87 F. Supp. 2d 648, 652 (N.D. Tex. 2000) (same).
   6
     Unless otherwise stated, Exhibits referenced in this brief are attached to the Clark Declaration
   in support of the renewed motion to dismiss the cases ending in -548, -550, -551, -552, -553, and
   the concurrently-filed Clark Reply Declaration, which starts with Exhibit MM.

                                                     8
Case 2:18-cv-00491-JRG-RSP Document 140 Filed 11/22/19 Page 14 of 30 PageID #: 4535




          In response, Uniloc argues that drained GGC servers remained places of business because

   they

                                                  Opp. at 14. 7 None of this is relevant. As this Court

   reasoned, “Google is in the business of delivering information.” SEVEN, 315 F. Supp. 3d at 947.

   Under this Court’s framework, when the drained GGC servers stopped serving content to users,

   they stopped conducting this “business” and therefore could not be a “regular and established place

   of business.”

                                                                                            this Court

   has rejected the proposition that “venue is proper in any judicial district where a defendant owns,

   controls, or otherwise has a connection to a piece of property, real or personal, that is related to

   the defendant’s business.” Super Interconnect, 2019 WL 3717683, at *2.

            2.     GGC Servers Do Not Support Venue for the November Complaints.

          Uniloc argues that after the servers were drained,

                                           and analogizes drained servers to “[a] Costco warehouse


   7




                                                     9
Case 2:18-cv-00491-JRG-RSP Document 140 Filed 11/22/19 Page 15 of 30 PageID #: 4536




   that is closed for the weekend.” Opp. at 15. Google respectfully submits that

                                     and thus stop conducting business, shows they are nothing like a

   warehouse for purposes of venue, and do not support venue for the November Complaints either.



                                  Opp. at 15 n.25; see also Ex. X at 24:21-24, 44:16-48:18; Ex. Y.



                                                      This reinforces that the “business” conducted by

   GGC servers occurs in “a virtual space” and constitutes “electronic communications from one

   person to another” rather than a regular and established place of business in the District as required

   by the venue statute and Cray. 871 F.3d at 1362. Upon being drained, the servers stop serving

   content and                                                       Ex. X at 97:20-98:8. This is vastly

   different than shutting down a Costco warehouse, which would require the reassignment of

   employees, redistribution of products, and disposition of real property. 8

         B.    There Are No “Google Fi Cell Towers” in the District That Could Be Regular and
               Established Places of Business.

              The only other theory of venue alleged in Uniloc’s complaints that Uniloc addresses in its

   Opposition involves Google’s wireless phone service, Google Fi. See Compl. ¶ 35-39; Opp. at 26. 9



                                                                                 (Exs. FF, GG; see also


   8
       Uniloc’s analogy to a Costco warehouse closing “for the weekend” is particularly inapt.


                             This is akin to the closing of a warehouse permanently.
   9
    Because Uniloc makes no effort to support the complaint’s other allegations, and Google has
   controverted those allegations with evidence showing them to be false and/or immaterial, none
   may be considered in assessing the propriety of venue in this District. See Kranos IP Corp. v.
   Riddell, Inc., No. 2:17-CV-443-JRG, 2017 WL 3704762, at *2 (E.D. Tex. Aug. 28, 2017).

                                                      10
Case 2:18-cv-00491-JRG-RSP Document 140 Filed 11/22/19 Page 16 of 30 PageID #: 4537




   https://fi.google.com/about/faq/#coverage-1), Uniloc offers no evidence to contest Google’s

   showing that Google does not own, lease, or have control over any cell towers in this District. See

   Ex. EE, ¶¶ 4-5.




                            Ex. G at 2230 (see Opp. at 26). Uniloc also notes that Google advertises

   enhanced network coverage, by which Google chooses whether to use Wi-Fi or a cell tower for

   calls and which cellular carrier’s towers to use, but this too says nothing of a physical place of

   business of Google in the District. Opp. at 26. Google Fi does not support venue.

       C.    The New Theories Uniloc Recycles from PMC Do Not Support Venue Either.

            Rather than pursue its pleaded theories, Uniloc now copies and pastes arguments made by

   a different plaintiff in the PMC case. Those theories have no more merit here than they do in PMC.

             1.   The                          Is Not a Google Place of Business.

            Uniloc abandons the repair facility allegations in its complaint, and instead focuses on the




                                                     11
Case 2:18-cv-00491-JRG-RSP Document 140 Filed 11/22/19 Page 17 of 30 PageID #: 4538




                                        Fractus, S.A. v. ZTE Corp., 2:17-cv-561-JRG, Dkt. 104 at 8

   (E.D. Tex. Sept. 28, 2018) (right to “requir[e] physical barriers in the event that [third party]

   cho[o]ses to represent a competitor” insufficient for venue).



                                                                                                    10


          Finally, despite incorrectly claiming that Google




   10
      See Ex. XX, Dynamic Data Techs., LLC v. Qualcomm Inc., 2:18-cv-470-RWS, Dkt. 52 (E.D.
   Tex. Aug. 13, 2019) (seven employees present for a total of 33 days at third-party testing facility
   insufficient for venue); In re ZTE, 890 F.3d at 1008, 1015 (“mere presence of a contractual
   relationship … does not necessarily make iQor’s call center ‘a regular and established place of
   business’ of ZTE USA,” nor did presence of two ZTE employees at the call center); Fractus, Ex.
   WW at 8 (agreement had “all the hallmarks [of] a contract solely for the provision of services”).
                                                    12
Case 2:18-cv-00491-JRG-RSP Document 140 Filed 11/22/19 Page 18 of 30 PageID #: 4539




                                                the webpage Uniloc cites for this false proposition is

   a support page for Pixel phones where Google merely informs readers that they can receive a pre-

   paid shipping label in order to have the device repaired. Ex. OO.




                                Fractus, Ex. WW at 5 (fact that third-party call center employees

   thanked callers for “calling ZTE” was insufficient to establish venue).

            2.   Uniloc’s                           Theory of Venue Also Fails.

          The other theory Uniloc recycles from PMC is premised on
                                                            11
                                                                 It does not support venue either.




   11




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Case 2:18-cv-00491-JRG-RSP Document 140 Filed 11/22/19 Page 19 of 30 PageID #: 4540




                                                                                               See,

   e.g., Ex. TT at 18-21; Ex. RR 117:5-118:21; 151:15-152:8; 155:5-13.

          None of the factors that the Federal Circuit identified in Cray as relevant to whether a

   location is “the place of the defendant” is present here. 871 F.3d at 1363.




                                                                                         12



          Further, while Google respectfully disagrees that GGC servers are “places of business,”

                                                                           the Court emphasized in

   SEVEN—“storing information in local districts to provide Google’s users with quick access to …

   cached data.” 315 F. Supp. 3d at 956, 960.




   12


                                                         See Ex. RR at 66:21-69:15; Ex. VV at 3.
                                                   14
Case 2:18-cv-00491-JRG-RSP Document 140 Filed 11/22/19 Page 20 of 30 PageID #: 4541




                                                                              is akin to the “electronic

   communications” that the Federal Circuit has rejected as a basis for venue. Cray, 871 F.3d at 1362.

        D.    Congress Intended a Nexus Requirement.

             Uniloc does not dispute that it cannot establish a relationship between the alleged acts of

   infringement and the purported “regular and established places of business” asserted in its

   Opposition. Instead, it relies on SEVEN to argue that no nexus is required. Google respectfully

   disagrees. Dispensing with a nexus requirement would mean that the rule for venue is more

   generous than the rule for personal jurisdiction, in direct conflict with the Federal Circuit’s

   admonition that Section 1400(b)’s “place of business standard requires more than the minimum


   13
      Kibler v. Transcontinental & Western Air, Inc., 63 F. Supp. 724 (E.D.N.Y. 1945), is
   inapposite. Kibler evaluated venue under the broader general venue statute, not the patent venue
   statute. Moreover, not only did Kibler address the venue rules for airplanes, not railroads,
   making the language quoted by Uniloc dicta (id. at 726), but the defendant in Kibler “occupie[d]
   offices at the airport [within the district] and ha[d] numerous employees there, [and] also hangars
   for the housing of its planes” (id. at 727), making the facts of that case entirely unlike those here.
                                                      15
Case 2:18-cv-00491-JRG-RSP Document 140 Filed 11/22/19 Page 21 of 30 PageID #: 4542




   contacts necessary for establishing personal jurisdiction.” Cray, 871 F.3d at 1361. Indeed, if the

   Court were to interpret “regular and established place of business” to include any place where a

   defendant’s equipment is located, regardless of the presence of a defendant’s agents, a nexus

   requirement would be necessary to save the statute from this illogical result.

        E.    Uniloc Has Not Adequately Alleged Acts of Infringement in This District for the
              Patents in the 491, 492, 495, 497, 500, 503, 504, 550, 551, and 553 Cases.

             Google described how Uniloc failed to adequately allege acts of infringement with respect

   to the asserted patents in 10 of its lawsuits. Uniloc does not respond to Google’s specific showings

   regarding any of these patents, instead relying on broad legal assertions, none of which is availing.

             First, citing Tierra Intelectual Borinquen, Inc. v. ASUS Computer Int’l, Inc., No. 13-CV-

   44, 2014 WL 1233040 (E.D. Tex. Mar. 24, 2014), Uniloc argues that the filing of the complaints

   provides notice for purposes of indirect infringement. But even if any of the complaints provided

   sufficient notice for purpose of post-complaint inducement, id. at *2, that would not establish acts

   of infringement in this District at the time the complaints were filed as required for venue.

             Second, Uniloc’s claims of pre-suit notice based on a prior unserved complaint cannot be

   squared with the settled “rule in the federal courts is that the effect of a voluntary dismissal without

   prejudice pursuant to Rule 41(a) is to render the proceedings a nullity and leave the parties as if

   the action had never been brought.” Bonneville Assocs., Ltd. v. Barram, 165 F.3d 1360, 1364 (Fed.

   Cir. 1999). Prior lawsuits cannot cure Uniloc’s failure to allege facts supporting notice.

             Third, Uniloc argues “[e]ach of the complaints alleges the use of the products in this

   District,” Opp. at 27, but ignores that no part of the allegedly infringing acts occur in this District

   because the accused processes occur on Google’s equipment located outside this district. 14


   14
      For example, the ’954 patent asserted in the 504 case contains only system claims reciting a
   server, a database, and a memory. The memory contains a program (with steps), but the program
   is executed by the server and all steps are performed by the server where the server is located.
                                                      16
Case 2:18-cv-00491-JRG-RSP Document 140 Filed 11/22/19 Page 22 of 30 PageID #: 4543




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                                         18
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Case 2:18-cv-00491-JRG-RSP Document 140 Filed 11/22/19 Page 25 of 30 PageID #: 4546




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Case 2:18-cv-00491-JRG-RSP Document 140 Filed 11/22/19 Page 30 of 30 PageID #: 4551




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          I hereby certify that all counsel of record who have consented to electronic service are
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                                                          /s/ Michael E. Jones


                  CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL

           I certify that the foregoing document is authorized to be filed under seal pursuant to the
   Protective Order entered in this case.
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